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                                       UNITED STATES DISTRICT COURT
                                     FOR THE WESTERN DISTRICT OF TEXAS
                                              WACO DIVISION

        SMILEDIRECTCLUB, LLC,                           )
                                                        )
                        Plaintiff,                      )
                                                        )
                 vs.                                    )        Civil Action No. 6:20-cv-01115-ADA
                                                        )
        CANDID CARE CO.,                                )
                                                        )
                        Defendant.                      )
                                                        )
                                                        )

                                       JOINT PROPOSED CASE SCHEDULE


                 Plaintiff SmileDirectClub, LLC and Defendant Candid Care Co. hereby jointly submit the

        proposed case schedule attached as Exhibit A.




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         Dated: February 16, 2021

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                                                    EXHIBIT A
                                            PROPOSED SCHEDULE

            Deadline      Item
            2/5/2021      Plaintiff serves preliminary1 infringement contentions in the form of a chart
                          setting forth where in the accused product(s) each element of the asserted claim(s)
                          are found. Plaintiff shall also identify the earliest priority date (i.e. the earliest
                          date of invention) for each asserted claim and produce: (1) all documents
                          evidencing conception and reduction to practice for each claimed invention, and
                          (2) a copy of the file history for each patent in suit.
            2/12/2021     CMC Deemed to have been held
            2/26/2021     Deadline for Motions to Transfer
            4/2/2021      Defendant serves preliminary invalidity contentions in the form of (1) a chart
                          setting forth where in the prior art references each element of the asserted claim(s)
                          are found, (2) an identification of any limitations the Defendant contends are
                          indefinite or lack written description under section 112, and (3) an identification
                          of any claims the Defendant contends are directed to ineligible subject matter
                          under section 101. Defendant shall also produce (1) all prior art referenced in the
                          invalidity contentions, (2) technical documents, including software where
                          applicable, sufficient to show the operation of the accused product(s), and (3)
                          summary, annual sales information for the accused product(s) for the two years
                          preceding the filing of the Complaint, unless the parties agree to some other
                          timeframe.
            4/14/2021     Parties exchange claim terms for construction.
            4/28/2021     Parties exchange proposed claim constructions.
            5/5/2021      Parties disclose extrinsic evidence. The parties shall disclose any extrinsic
                          evidence, including the identity of any expert witness they may rely upon with
                          respect to claim construction or indefiniteness. With respect to any expert
                          identified, the parties shall identify the scope of the topics for the witness’s
                          expected testimony. 2 With respect to items of extrinsic evidence, the parties shall
                          identify each such item by production number or produce a copy of any such item
                          if not previously produced.


        1
           The parties may amend preliminary infringement contentions and preliminary invalidity
        contentions without leave of court so long as counsel certifies that it undertook reasonable efforts to
        prepare its preliminary contentions and the amendment is based on material identified after those
        preliminary contentions were served, and should do so seasonably upon identifying any such
        material. Any amendment to add patent claims requires leave of court so that the Court can address
        any scheduling issues.
        2
          Any party may utilize a rebuttal expert in response to a brief where expert testimony is relied upon
        by the other party.

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            Deadline      Item
            5/12/2021     Deadline to meet and confer to narrow terms in dispute and exchange revised list
                          of terms/constructions.
            5/19/2021     Plaintiff files Opening claim construction brief, including any arguments that any
                          claim terms are indefinite.
             6/9/2021     Defendant files Responsive claim construction brief.
            6/23/2021     Plaintiff files Reply claim construction brief.
             7/7/2021     Defendant files Sur-Reply claim construction brief.
            7/12/2021     Parties submit Joint Claim Construction Statement.
                          See General Issues Note #8 regarding providing copies of the briefing to the Court
                          and the technical adviser (if appointed).
            7/14/2021     Parties submit optional technical tutorials to the Court and technical adviser (if
                          appointed). 3
            7/21/2021     Markman Hearing
            7/22/2021     Fact Discovery opens; deadline to serve Initial Disclosures per Rule 26(a).
             9/1/2021     Deadline to add parties.
            9/15/2021     Deadline to serve Final Infringement and Invalidity Contentions. After this date,
                          leave of Court is required for any amendment to Infringement or Invalidity
                          contentions. This deadline does not relieve the Parties of their obligation to
                          seasonably amend if new information is identified after initial contentions.
            11/10/2021    Deadline to amend pleadings. A motion is not required unless the amendment
                          adds patents or patent claims. (Note: This includes amendments in response to a
                          12(c) motion.)
            10/25/2021    Deadline for the first of two meet and confers to discuss significantly narrowing
                          the number of claims asserted and prior art references at issue. Unless the parties
                          agree to the narrowing, they are ordered to contact the Court’s Law Clerk to
                          arrange a teleconference with the Court to resolve the disputed issues.
            11/22/2021    Close of Fact Discovery
            11/29/2021    Opening Expert Reports
            12/27/2021    Rebuttal Expert Reports
            1/17/2022     Close of Expert Discovery




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          The parties should contact the law clerk to request a Box link so that the party can directly upload
        the file to the Court’s Box account.

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            Deadline    Item
            1/24/2022   Deadline for the second of two meet and confer to discuss narrowing the number
                        of claims asserted and prior art references at issue to triable limits. To the extent
                        it helps the parties determine these limits, the parties are encouraged to contact
                        the Court’s Law Clerk for an estimate of the amount of trial time anticipated per
                        side. The parties shall file a Joint Report within 5 business days regarding the
                        results of the meet and confer.
            1/31/2022   Dispositive motion deadline and Daubert motion deadline.
                        See General Issues Note #8 regarding providing copies of the briefing to the Court
                        and the technical adviser (if appointed).
            2/14/2022   Serve Pretrial Disclosures (jury instructions, exhibits lists, witness lists, discovery
                        and deposition designations).
            2/28/2022   Serve objections to pretrial disclosures/rebuttal disclosures.
            3/7/2022    Serve objections to rebuttal disclosures and File Motions in-limine.
            3/14/2022   File Joint Pretrial Order and Pretrial Submissions (jury instructions, exhibits lists,
                        witness lists, discovery and deposition designations); file oppositions to motions
                        in limine.
            3/21/2022   File Notice of Request for Daily Transcript or Real Time Reporting. If a daily
                        transcript or real time reporting of court proceedings is requested for trial, the
                        party or parties making said request shall file a notice with the Court and e-mail
                        the Court Reporter, Kristie Davis at kmdaviscsr@yahoo.com.

                        Deadline to meet and confer regarding remaining objections and disputes on
                        motions in limine.
            4/1/2022    File joint notice identifying remaining objections to pretrial disclosures and
                        disputes on motions in-limine.
            4/4/2022    Final Pretrial Conference. The Court expects to set this date at the conclusion of
                        the Markman Hearing.
            4/25/2022   Jury Selection/Trial. The Court expects to set this date at the conclusion of the
                        Markman Hearing.


        SIGNED this _____ day of _____________, 2021.



                                                         _______________________________________

                                                         ALAN D. ALBRIGHT

                                                         UNITED STATES DISTRICT JUDGE

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